          Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 1 of 16




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
JUDICIAL WATCH, INC.,               )
                                    )
            Plaintiff,              )
                                    )
      v.                            )                Civil Action No. 20cv2995 (EGS)
                                    )
U.S. DEPARTMENT OF JUSTICE,         )
                                    )
            Defendant.              )
____________________________________)


                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendant United States

Department of Justice (“DOJ”) moves for summary judgment. Specifically, this matter involves a

Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, request by Plaintiff Judicial Watch, Inc.

(“Judicial Watch”) seeking text messages sent from January 1, 2015 to December 31, 2015

between FBI Deputy Director Andrew McCabe and Lisa Page, Jennifer Leonard, Peter Strzok,

and/or Lisa Monaco. ECF No. 1. As reflected in the status reports submitted to the Court and the

exhibits attached to this Motion, the Defendant completed the processing of responsive material

and produced all responsive, non-exempt material to Plaintiff. Accordingly, Defendant asserts

that there are no issues of material fact in genuine dispute and that any information not released

was properly withheld pursuant to an exemption under FOIA. In support of the Motion,

Defendant refers this Court to the accompanying Memorandum of Point and Authorities,

Statement of Material Facts as to Which There is no Genuine Dispute, Declarations of Michael G.

Seidel, and accompanying exhibits. A proposed Order is also attached.
         Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 2 of 16




Dated: June 14, 2021               Respectfully submitted,

                                   CHANNING D. PHILLIPS
                                   Acting United States Attorney

                                   BRIAN HUDAK
                                   Acting Chief, Civil Division

                                   By: /s/ Darrell C. Valdez
                                   DARRELL C. VALDEZ, D.C. Bar No. 420232
                                   Assistant United States Attorney
                                   555 Fourth Street, N.W., Civil Division
                                   Washington, D.C. 20530
                                   Telephone: (202) 252-2507
                                   Darrell.Valdez@usdoj.gov

                                   Counsel for Defendant




                                      2
        Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 3 of 16




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
JUDICIAL WATCH, INC.,               )
                                    )
            Plaintiff,              )
                                    )
      v.                            )   Civil Action No. 20cv2995 (EGS)
                                    )
U.S. DEPT. OF JUSTICE,              )
                                    )
            Defendant.              )
____________________________________)

         MEMORANDUM OF POINTS AND AUTHORITY IN SUPPORT OF
            DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
          Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 4 of 16




                                 TABLE OF CONTENTS

PROCEDURAL AND FACTUAL BACKGROUND…………………………………………...…1

ARGUMENT………………………………………..……………………………………………...1

    I.       LEGAL STANDARDS……………………………………………………………..1

             A. Summary Judgment Standard…………………………………………………...1

             B. The Purpose of the Freedom of Information Act…………………………….....3

    II.      THE FBI-ISSUED PHONE NUMBERS OF FBI EMPLOYEES ARE
             PROTECTED BY FOIA EXEMPTIONS 6 AND 7(C)….........................................4

                    1. Legal Standards for Exemption 6 and 7(C)……………………………..4

                    2. Defendant Properly Applied Exemptions 6 and 7(C) to the
                       Phone Numbers Withheld………………………………………………8

CONCLUSION……………………………………………………………………………………..9




                                              ii
            Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 5 of 16




                                          TABLE OF AUTHORITIES

Federal Cases                                                                                               Page(s)
Anderson v. Liberty Lobby, Inc.,
  477 U.S. 242 (1986) .......................................................................................... 1-2

Brayton v. Office of the U.S. Trade Rep.,
  641 F.3d 521 (D.C. Cir. 2011) .............................................................................. 2

Brown v. FBI,
  658 F.2d 71 (2d Cir.1981) ..................................................................................... 7

Celotex Corp. v. Catrett,
  477 U.S. 317 (1986) .......................................................................................... 1-2

Chang v. Dep’t of the Navy,
  314 F. Supp. 2d 35 (D.D.C. 2004) ........................................................................ 5

Church of Scientology v. U.S. Dep’t of Army,
  611 F.2d 738 (9th Cir. 1980) ................................................................................. 3

CIA v. Sims,
  471 U.S. 159 (1985) .............................................................................................. 3

Ctr. for Nat’l Sec. Studies v. Dep’t of Justice,
   331 F.3d 918 (D.C. Cir. 2003) .............................................................................. 4

Davis v. Dep’t of Justice,
  968 F.2d 1276 (D.C. Cir. 1992) ............................................................................ 7

Dep’t of Air Force v. Rose, [
  425 U.S. 352 (1976) .............................................................................................. 7

Dep’t of Defense v. Fed. Labor Relations Auth.,
  510 U.S. 487 (1994) .............................................................................................. 5

EPA v. Mink,
  410 U.S. 73 (1973) ................................................................................................ 4



                                                          iii
            Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 6 of 16




Fabiano v. McIntyre,
  146 F. App'x 549 (3rd Cir. 2005) .......................................................................... 6

Hayden v. Nat’l Sec. Agency Cent. Sec. Serv.,
  608 F.2d 1381 (D.C. Cir. 1979) ............................................................................ 3

*John Doe Agency v. John Doe Corp.,
  493 U.S. 146 (1989) .......................................................................................... 3-4

Jones v. FBI,
  41 F.3d 238 (6th Cir. 1994) ................................................................................... 2

Judicial Watch, Inc. v. Dep’t of the Navy,
  25 F. Supp. 3d 131 (D.D.C. 2014) ........................................................................ 2

Judicial Watch, Inc. v. U.S. Dep’t of Commerce,
  337 F. Supp. 146 (D.D.C. 2004) ........................................................................... 5

*Keys v. U.S. Dep’t of Justice,
  830 F.2d 337 (D.C. Cir. 1987) .............................................................................. 6

Kissinger v. Reporters Comm. for Freedom of the Press,
   445 U.S. 136 (1980) .............................................................................................. 2

Miller v. Bell,
  661 F.2d 623 (7th Cir. 1981) ................................................................................. 6

*Moore v. Obama,
  No. 09-5072, 2009 WL 2762827 (D.C. Cir. Aug. 24, 2009) ................................ 6

*Nix v. United States,
  572 F.2d 998 (4th Cir. 1978) ................................................................................. 6

NLRB v. Sears, Roebuck & Co.,
  421 U.S. 132 (1975) .............................................................................................. 4

Parsons v. FOIA Officer,
  121 F.3d 709 (6th Cir. 1997) ................................................................................. 4



                                                          iv
            Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 7 of 16




Perrone v. FBI,
  908 F. Supp. 24 (D.D.C. 1995) ............................................................................. 7

Perry v. Block,
  684 F.2d 121 (D.C. Cir. 1982) .............................................................................. 3

Pub. Emps. for Envt’l Resp. v. U.S. Section, Int’l Boundary & Water Comm’n, U.S.-
Mexico,
  740 F.3d 195 (D.C. Cir. 2014) .............................................................................. 6

Ripskis v. Dep’t of Housing & Urban Dev.,
   746 F.2d 1 (D.C. Cir. 1984) .................................................................................. 5

Rugiero v. U.S. Dep’t of Justice,
  257 F.3d 534 (6th Cir. 2001) ................................................................................. 2

SafeCard Services, Inc. v. SEC,
   926 F.2d 1197 (D.C. Cir. 1991) ............................................................................ 8

Seized Property Recovery, Corp., v. U.S. Customs and Border Protection,
   502 F. Supp. 2d 50 (D.D.C. 2007) ........................................................................ 5

Senate of P.R. v. Dep’t of Justice,
  823 F.2d 574 (D.C. Cir. 1987) .............................................................................. 7

*U.S. Dep’t of Justice v. Reporters Comm. for Freedom of the Press,
  489 U.S. 749 (1989) ...................................................................................... 3, 5, 7

*U.S. Dep’t of State v. Wash. Post Co.,
  456 U.S. 595 (1982) .............................................................................................. 5

United Techs v. FAA,
  102 F.3d 688 (2nd Cir. 1996) ................................................................................ 4

Weisberg v. U.S. Dep’t. of Justice,
  627 F.2d 365 (D.C. Cir. 1980) .............................................................................. 2

Federal Statutes
5 U.S.C. § 552 ................................................................................................. 1-2, 4-5

                                                           v
            Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 8 of 16




            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
               DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       At issue in this Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”) lawsuit is a FOIA

request served by Plaintiff upon the Defendant seeking text message communications sent from

January 1, 2015 to December 31, 2015 between FBI Deputy Director Andrew McCabe and Lisa

Page, Jennifer Leonard, Peter Strzok, and/or Lisa Monaco. ECF No. 1.

       The issue before the Court in this summary judgment matter is narrow. Plaintiff

challenges Defendant’s redactions of FBI-issued telephone numbers that can be used to identify,

harass, and retaliate against non-SES level FBI personnel, should that information be released.to

the public. Plaintiff does not challenge the scope of the search or the processing of any other

records or information.

       The undisputed material facts demonstrate that the redacted information falls squarely

within the FOIA exemptions asserted by the Defendant. Accordingly, summary judgment should

be entered in favor of the Defendant.

                      PROCEDURAL AND FACTUAL BACKGROUND

       The procedural and factual background are set forth in the attached Statement of Material

Facts Not in Genuine Dispute and are incorporated by reference herein.

                                          ARGUMENT

I.     LEGAL STANDARDS

       A.      Summary Judgment Standard

       Summary judgment is appropriate when the pleadings and evidence “show[] that there is

no genuine issue as to any material fact and that the movant is entitled to judgment as a matter of

law.” Fed. R. Civ. P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986); Celotex

Corp. v. Catrett, 477 U.S. 317, 322 (1986). It is up to the party moving for summary judgment to
           Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 9 of 16




demonstrate the absence of a genuine issue of material fact. See Celotex Corp., 477 U.S. at 323.

A genuine issue is one that “might affect the outcome of the suit under the governing law.”

Anderson, 477 U.S. at 248. Once the moving party has met its burden, the nonmoving party “may

not rest upon the mere allegations or denials of his pleading, but . . . must set forth specific facts

showing that there is a genuine issue” in dispute. Id. Any factual assertions contained in

affidavits and other evidence in support of the moving party’s motion for summary judgment shall

be accepted as true unless the facts are controverted by the nonmoving party through affidavits or

other documentary evidence. Local Civ. R. 7(h).

       Summary judgment is an appropriate method for a court to dispose of a FOIA complaint.

See Rugiero v. U.S. Dep’t of Justice, 257 F.3d 534 (6th Cir. 2001); see also Jones v. FBI, 41 F.3d

238,242 (6th Cir. 1994). Indeed, FOIA cases are typically decided on motions for summary

judgment. Judicial Watch, Inc. v. Dep’t of the Navy, 25 F. Supp. 3d 131, 136 (D.D.C. 2014)); see

also Brayton v. Office of the U.S. Trade Rep., 641 F.3d 521, 527 (D.C. Cir. 2011) (“[T]he vast

majority of FOIA cases can be resolved on summary judgment”). To be entitled to summary

judgment, the agency must prove that each document was produced, not withheld, is

unidentifiable, or is exempt from disclosure. Weisberg v. U.S. Dep’t. of Justice, 627 F.2d 365, 368

(D.C. Cir. 1980).

       Under FOIA, federal courts may “enjoin the agency from withholding agency records and

[may] order the production of any agency records improperly withheld from the complainant.” 5

U.S.C. § 552(a)(4)(B). Requesters may prevail in a FOIA action only if an agency has (1)

improperly (2) withheld (3) agency records.” Kissinger v. Reporters Comm. for Freedom of the

Press, 445 U.S. 136, 150 (1980). An agency satisfies the summary judgment requirements in a

FOIA case by providing the Court and the plaintiff with affidavits, declarations, or other evidence



                                                   2
          Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 10 of 16




showing that it has discharged its obligations under the FOIA. Hayden v. Nat’l Sec. Agency Cent.

Sec. Serv., 608 F.2d 1381, 1384 (D.C. Cir. 1979); Church of Scientology v. U.S. Dep’t of Army,

611 F.2d 738, 742 (9th Cir. 1980).

       Because the record before this Court demonstrates that Defendant has met its obligation

under the FOIA, no genuine issue as to any material fact exists and summary judgment should be

granted to Defendant as a matter of law. See Perry v. Block, 684 F.2d 121, 126 (D.C. Cir. 1982).

       B.      The Purpose of the Freedom of Information Act.

       FOIA generally provides that any person has a right, enforceable in court, to obtain access

to federal agency records, except to the extent that such records are protected from public

disclosure by any of the nine exemptions or three special law enforcement record exclusions.

While FOIA’s statutory objective is to achieve “the fullest responsible disclosure,” see S. Rep. No;

89-813, at 3 (1965), the Supreme Court has emphasized that only “[o]fficial information that sheds

light on an agency’s performance of its statutory duties falls squarely within that statutory

purpose.” U.S. Dep’t of Justice v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 773

(1989). Thus, FOIA’s “basic purpose” reflects a “general philosophy of full agency disclosure

unless information is exempted under clearly delineated statutory language.” John Doe Agency v.

John Doe Corp., 493 U.S. 146, 152 (1989) (citation omitted). “Congress recognized, however,

that public disclosure is not always in the public interest.” CIA v. Sims, 471 U.S. 159, 166-67

(1985). In passing FOIA, “Congress sought to reach a workable balance between the right of the

public to know and the need of the Government to keep information in confidence to the extent

necessary without permitting indiscriminate secrecy.” John Doe Agency, 493 U.S. at 152 (citation

and internal quotation marks omitted). “FOIA represents a balance struck by Congress between

the public’s right to know and the government’s legitimate interest in keeping certain information



                                                  3
          Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 11 of 16




confidential.” Ctr. for Nat’l Sec. Studies v. Dep’t of Justice, 331 F.3d 918, 925 (D.C. Cir. 2003)

(citing John Doe Agency, 493 U.S. at 152).

       The identity of the FOIA requester does not matter. See e.g., EPA v. Mink, 410 U.S. 73, 86

(1973) (declaring that FOIA is “largely indifferent to the intensity of a particular requester’s

need”); Parsons v. FOIA Officer, 121 F.3d 709 (6th Cir. Aug. 12, 1997) (holding that plaintiff’s

argument of “legitimate need for the documents superior to that of the general public or the press”

fails because identity of requester is irrelevant to the determination of whether an exemption

applies); United Techs v. FAA, 102 F.3d 688, 692 (2nd Cir. 1996) (“Congress created a scheme of

categorical exclusion; it did not invite a judicial weighing of the benefits and evils of disclosure on

a case by case basis”). So long as FOIA “is fundamentally designed to inform the public about

agency action and not to benefit private litigants,” a requestor’s rights under FOIA “are neither

increased nor decreased by reason of the fact that it claims an interest in the [matter sought]”

greater than that shared by the average member of the public. NLRB v. Sears, Roebuck & Co., 421

U.S. 132, 143 n.10 (1975).

II.    THE FBI-ISSUED PHONE NUMBERS OF FBI EMPLOYEES ARE PROTECTED
       BY FOIA EXEMPTIONS 6 AND 7(C)

       1. Legal Standards for Exemption 6 and 7(C)

       FOIA contains two exemptions that are designed to withhold records where the release of

the records would constitute an unwarranted invasion of personal privacy, Exemption 6, 5 U.S.C.

§ 552(b)(6), and Exemption 7(C), 5 U.S.C. § 552(b)(7)(C). Exemption 6 protects from disclosure

information contained in “personnel and medical files and similar files the disclosure of which

would constitute a clearly unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(6).

Although information in personnel and medical files is easily identifiable, the “similar files”

phrase is “intended to cover detailed government records on an individual which can be identified

                                                  4
          Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 12 of 16




as applying to that individual.” U.S. Dep’t of State v. Wash. Post Co., 456 U.S. 595, 602 (1982)

(citations omitted).

       Personal privacy has been described as an “individual’s interest in avoiding disclosure of

personal matters” that encompass “the individual’s control of information concerning his or her

person.” Reporters Comm., 489 U.S. at 762-63 (1989). If a privacy interest exists, the analysis

requires a balancing of the individual’s right to privacy against the public interest in disclosure.

See Dep’t of Defense v. Fed. Labor Relations Auth., 510 U.S. 487, 495 (1994); Ripskis v. Dep’t of

Housing & Urban Dev., 746 F.2d 1, 3 (D.C. Cir. 1984). “Personal matters” subject to protection

not only includes the individual’s names, but other information that may reveal the individual’s

identity. Judicial Watch, Inc. v. U.S. Dep’t of Commerce, 337 F. Supp. 146, 178 (D.D.C. 2004)

(citing Nat'l Ass'n of Retired Federal Employees v. Horner, 879 F.2d 873 (D.C. Cir. 1989)).

       “The ‘public interest’ inquiry is whether disclosure would ‘contribute significantly to

public understanding of the operations or activities of government.’” Chang v. Dep’t of the Navy,

314 F. Supp. 2d 35, 42 (D.D.C. 2004) (quoting Fed. Labor Relations Auth., 510 U.S. at 495). If

the privacy interest is found to outweigh the public interest, then the information should be

withheld; otherwise, the information should be released. See, e.g., Chang, 314 F. Supp. at 44.

       Exemption 7(C) provides protection for law enforcement information the disclosure of

which “could reasonably be expected to constitute an unwarranted invasion of personal privacy.”

5 U.S.C. § 552(b)(7)(C). Exemption 7(C) is the law enforcement counterpart to the privacy

protection afforded under Exemption 6. Seized Property Recovery, Corp., v. U.S. Customs and

Border Protection, 502 F. Supp. 2d 50, 56 (D.D.C. 2007). Under Exemptions 6/7(C), the

identities of federal, state, and local law enforcement personnel referenced in responsive

documents are properly withheld:



                                                   5
          Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 13 of 16




           One who serves his state or nation as a career public servant is not thereby
           stripped of every vestige of personal privacy, even with respect to the
           discharge of his official duties. Public identification of any of these
           individuals could conceivably subject them to harassment and annoyance
           in the conduct of their official duties and in their private lives.

Nix v. United States, 572 F.2d 998, 1006 (4th Cir. 1978). See also Moore v. Obama, No. 09-

5072, 2009 WL 2762827, at *1 (D.C. Cir. Aug. 24, 2009) (per curium) (affirming the withholding

the names and phone numbers of FBI employees is proper to protect the employees from

harassment or retaliatory action); Fabiano v. McIntyre, 146 F. App'x 549 (3rd Cir. 2005)

(affirming withholding of names and other identifying information FBI personnel). Nor is it

“necessary that harassment rise to the level of endangering physical safety before the protections

of 7(C) can be invoked.” Miller v. Bell, 661 F.2d 623, 630 (7th Cir. 1981).

       Defendant asserted Exemptions 6 and 7(C), to withhold the FBI-issued telephone numbers

of individuals in records compiled for law enforcement purposes and whose disclosure could

reasonably be expected to constitute an unwarranted invasion of the personal privacy of the

individuals. Id. When a law enforcement agency, such as the Federal Bureau of Investigation,

invokes Exemption 7, it “warrants greater deference than do like claims by other agencies.” Keys

v. U.S. Dep’t of Justice, 830 F.2d 337, 340 (D.C. Cir. 1987). 1 “The term ‘law enforcement’ in

Exemption 7 refers to the act of enforcing the law, both civil and criminal.” Pub. Emps. for Envt’l

Resp. v. U.S. Section, Int’l Boundary & Water Comm’n, U.S.-Mexico, 740 F.3d 195, 203 (D.C.

Cir. 2014). A law enforcement agency must simply show that “the nexus between the agency’s

activity . . . and its law enforcement duties” is “‘based on information sufficient to support at least

‘a colorable claim’ of its rationality.’” Keys, 830 F.2d at 340.



1
 As noted in the declaration of Michael G. Seidel (“Seidel Decl.”), the FBI is a “law enforcement
agency” entitled to greater deference in the application of any of the sub-categories within
Exemption 7. Seidel Decl. at ¶ 15.
                                                   6
          Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 14 of 16




       Once the agency has demonstrated that the records were compiled for law enforcement

purposes, the Court must next consider whether the release of information withheld “could

reasonably be expected to constitute an unwarranted invasion of personal privacy.” This

determination necessitates a balancing of the individual’s right to privacy against the public’s right

of access to information in government files. See, e.g., Reporters Comm., 489 U.S. at 776-780 .

       The Supreme Court has made clear that “whether disclosure of a private document under

Exemption 7(C) is warranted must turn on the nature of the requested document and its

relationship to ‘the basic purpose of the Freedom of Information Act to open agency action to the

light of public scrutiny,’ Dep’t of Air Force v. Rose, [425 U.S. 352, 372 (1976)], rather than on the

particular purpose for which the document is being requested.” Reporters Comm., 489 U.S. at 772

(internal quotation marks omitted). Information that does not directly reveal the operations or

activities of the government “falls outside the ambit of the public interest that the FOIA was

enacted to serve.” Id. at 775. That public interest is to “shed[] light on an agency’s performance

of its statutory duties.” Id. at 772. The plaintiff bears the burden of establishing that the “public

interest in disclosure is both significant and compelling in order to overcome legitimate privacy

interests.” Perrone v. FBI, 908 F. Supp. 24, 26 (D.D.C. 1995) (citing Senate of P.R. v. Dep’t of

Justice, 823 F.2d 574, 588 (D.C. Cir. 1987)).

       Significantly, it is the “interest of the general public and not that of the private litigant” that

matters. Brown v. FBI, 658 F.2d 71, 75 (2d Cir.1981). “[T]he only public interest relevant for

purposes of Exemption 7(C) is one that focuses on ‘the citizens’ right to be informed about what

their government is up to.’” Davis v. Dep’t of Justice, 968 F.2d 1276, 1282 (D.C. Cir. 1992)

(quoting Reporters Comm., 489 U.S. at 773) (internal quotation marks omitted).




                                                   7
          Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 15 of 16




        The privacy interests of third parties mentioned in law enforcement files are “substantial,”

while “[t]he public interest in disclosure [of third-party identities] is not just less substantial, it is

insubstantial.” SafeCard Services, Inc. v. SEC, 926 F.2d 1197, 1205 (D.C. Cir. 1991). The Circuit

Court has held “categorically” that “unless access to names and addresses of private individuals

appearing in files within the ambit of Exemption 7(C) is necessary in order to confirm or refute

compelling evidence that the agency is engaged in illegal activity, such information is exempt

from disclosure.” SafeCard, 926 F.2d at 1206.

        2. Defendant Properly Applied Exemptions 6 and 7(C) to the Phone Numbers
           Withheld

        Defendant applied Exemptions 6 and 7(C) to withhold telephone numbering information

that could identify lower-level employees (below SES level) to protect their personal privacy

interests, and to protect the employees from harassment and retaliatory activity. Seidel Decl. at

¶¶ 20-22. In addition to the fact that the FBI is a law enforcement agency, see supra at n. 1, the

text messaging system of the FBI-issued phones is intended and used to conduct law enforcement

activities such as communicating with other FBI and federal government personnel about FBI

business. Seidel Decl. at ¶ 16. Through the disclosure of an FBI-issued telephone number, an

employee will become subject to harassment, or harassing inquiries for unauthorized access to

information regarding law enforcement investigations. Seidel Decl. at ¶ 22. Indeed, because of

the law enforcement and intelligence nature of the FBI’s mission, and the access to classified

information that comes with that mission, FBI employees would be put at risk of clearly

unwarranted invasions of their privacy if their contact information was released. Seidel Decl. at

¶¶ 23-24. Thus, information that could lead to the discovery of the identities of FBI personnel, or

could cause harassing or retaliatory activity against those individuals is protected from disclosure

under FOIA by the application of Exemptions 6 and 7(C).

                                                     8
         Case 1:20-cv-02995-EGS Document 14 Filed 06/14/21 Page 16 of 16




       Nor is there any countervailing public interest in the release of their names or other

information that could identify the sources’ identities, because dissemination of the sources’

names or other personal information would not help explain government activities and operations

nor would the public’s interest in the disclosure of this information outweigh the third-party

individuals’ privacy rights in the information withheld under this exemption. Seidel Decl. at

¶¶ 24-25. The withholding of identifying information was proper under the FOIA.

                                         CONCLUSION

       Wherefore, for the reasons set forth above and in the accompanying Statement of Material

Facts Not in Genuine Dispute, Defendant respectfully request that the Court enter judgment in

favor of the Defendant.


Date: June 14, 2021                              Respectfully submitted,


                                                 CHANNING PHILLIPS
                                                 Acting United States Attorney

                                                 BRIAN HUDAK
                                                 Acting Chief, Civil Division


                                                 /s/ Darrell C. Valdez
                                                 DARRELL C. VALDEZ, D.C. Bar No. 420232
                                                 Assistant United States Attorney
                                                 555 Fourth Street, N.W.
                                                 Washington, D.C. 20530
                                                 (202) 252-2507
                                                 Darrell.Valdez@usdoj.gov

                                                 Counsel for Defendant




                                                  9
